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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS
                                   TOPEKA DIVISION

  STATE OF KANSAS, ET AL.,                      §
                                                §
         Plaintiffs,                            §
                                                §
  v.                                            §
                                                §       Civil Action No. 5:24-cv-04041-JWB-
  UNITED STATES DEPARTMENT OF                   §       ADM
  EDUCATION, ET AL.                             §
                                                §
         Defendants.                            §




                                NOTICE OF WITHDRAWAL

       Erin Gaide, Assistant Attorney General, and in accordance with D. Kan. Rule 83.5.5(b),

respectfully notifies the Court and the parties of the withdrawal of Ahbishek S. Kambli, Deputy

Attorney General, as counsel of record for State of Kansas.

       The Court and parties are further notified that Erin Gaide and James Rodriguez will

continue to represent State of Kansas in this matter.

                                                        Respectfully submitted,


                                                        KRIS W. KOBACH
                                                        Attorney General of Kansas

                                                        /s/     Erin B. Gaide
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                                     /s/ Abhishek S. Kambli
                                     Abhishek S. Kambli, 29788




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